                  THE THIRTEENTH COURT OF APPEALS

                                   13-18-00563-CV


                                  Armando O'Caña
                                           v.
                                Norberto 'Beto' Salinas


                                   On appeal from the
                     93rd District Court of Hidalgo County, Texas
                            Trial Cause No. C-2637-18-B


                                     JUDGMENT

      THE THIRTEENTH COURT OF APPEALS, having considered this cause on

appeal, concludes the judgment of the trial court should be reversed and rendered. The

Court orders the judgment of the trial court REVERSED and RENDERED. Costs of the

appeal are adjudged against appellee.

      We further order this decision certified below for observance.

March 29, 2019
